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 8                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
 9                                  OAKLAND DIVISION

10   In re Google RTB Consumer Privacy               Case No. 4:21-cv-02155-YGR-VKD
     Litigation,
11                                                   PLAINTIFFS’ ADMINISTRATIVE
12                                                   MOTION TO CONSIDER WHETHER
     This document applies to: all actions.          ANOTHER PARTY’S MATERIALS
13                                                   SHOULD BE SEALED

14                                                   [Civil L.R. 7-11, 79-5(f)]
15                                                   Magistrate Judge Virginia K. DeMarchi
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                                                     Hearing Date:    None set.
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                                                                         Case No. 4:21-cv-02155-YGR-VKD
                                         PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER
                                                                     PARTY’S MATERIALS SHOULD BE SEALED
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 1 I.       INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiffs hereby respectfully submit this
 3 Administrative Motion to Consider Whether Another Party’s (Defendant Google’s) Materials Should

 4 Be Sealed. Plaintiffs have filed Declaration of Lesley E. Weaver Pursuant to Dkt. 242 Regarding Dkt.

 5 291 re: Dispute as to Economic Damages Discovery (the “Weaver Declaration”), and the exhibits

 6 thereto under seal. Pursuant to the procedure set forth in Judge Gonzalez Rogers’ June 24, 2022 Order

 7 (Dkt. 242), Plaintiffs redact this information and lodge these documents conditionally under seal “to

 8 present discovery from the Calhoun action under seal to Judge DeMarchi for the purposes of

 9 demonstrating (i) the need for discovery in this action or (ii) that the defendant has misrepresented

10 the nature or existence of certain information to Judge DeMarchi.” Plaintiffs also redact this

11 information and lodge these documents conditionally under seal because Google has designated

12 information contained therein as “Confidential” and instructed Plaintiffs to file these documents

13 under seal.

14          Plaintiffs hereby lodge the following documents conditionally under seal:
15                  The Weaver Declaration in its entirety; and
16                  Exhibits 1 – 6, in their entirety.
17 II.      ARGUMENT
18          Materials and documents may be filed under seal pursuant to Civil Local Rule 79-5 when the
19 document, or portions thereof, are privileged, protectable as a trade secret, or otherwise entitled to

20 protection under the law, if the request minimizes the information sought to be sealed from public

21 view and is and narrowly tailored L.R. 79-5(a), (c)(3). Plaintiffs’ request is narrowly drawn to seek

22 to seal only that information that Google has instructed Plaintiffs to submit under seal.

23          Plaintiffs seek this relief in good faith because the information sought to be sealed has been
24 designated as Confidential by Google pursuant to the Protective Order entered into between the

25 parties. Civil L.R. 79-5(f)(3) imposes additional requirements on the “Designating Party,” Defendant

26 Google.

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                                                                             Case No. 4:21-cv-02155-YGR-VKD
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                                                                         PARTY’S MATERIALS SHOULD BE SEALED
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 1 III.    NOTICE OF LODGING

 2         Plaintiffs will lodge with the Court and serve on counsel for Defendant Google, without

 3 service to the other plaintiffs’ lawyers, complete copies of the unredacted and unsealed documents in

 4 accordance with Judge Gonzalez Rogers’ June 24, 2022 Order (Dkt. 242) and Civil L.R. 5-1(e).

 5 IV.     CONCLUSION

 6         Plaintiffs, for the reasons set forth herein, hereby move the Court to consider whether the

 7 above-described documents should remain under seal and in redacted form pursuant to Google’s

 8 designations and instructions.

 9

10 DATED: August 15, 2022                               Respectfully submitted,

11
                                                        /s/ Lesley E. Weaver __
12                                                      Lesley E. Weaver, Esq.
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 1                                   CERTIFICATE OF SERVICE

 2         I, Lesley E. Weaver, hereby certify that on August 15, 2022, I electronically filed the

 3 foregoing document with the Clerk of the United States District Court for the Northern District of

 4 California using the CM/ECF system, which will send electronic notification to all counsel of record.

 5 I also caused a copy of the under seal filing to be served on counsel for Defendant Google LLC via

 6 electronic mail.

 7                                                             /s/ Lesley E. Weaver
                                                               Lesley E. Weaver
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